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                                                        March 12, 2024

    VIA ECF
    Honorable Rukhsanah L. Singh, U.S.M.J
    United States District Court
    Clarkson S. Fisher Building & US Courthouse
    402 East State Street
    Trenton, NJ 08608

              Re:       In re: Johnson & Johnson Talcum Powder Products, Marketing,
                        Sales Practices, and Products Liability Litigation
                        Case No.: 3:16-md-02738-MAS-RLS

    Dear Judge Singh:

          The Plaintiffs’ Steering Committee is in receipt of Defendant’s March 6th
    Letter (ECF No. 29283), and the Court’s Text Order asking for a response by
    tomorrow, March 13th (ECF No. 29284).

            As an initial matter, prior to filing their letter, Defendants did not meet and
    confer with the PSC, so that we could attempt to informally address certain issues
    before raising these issues with the Court. The PSC was not aware of the complete
    list of cases included on Exhibit A and B, or all the categories of issues identified by
    Defendants in their letter.

           The PSC is currently reviewing the letter and the accompanying Exhibits. A
    request was made of Defendants to provide a list of firms associated with the cases
    on the Exhibits. The Exhibits only list the case name and number, but not the
    associated law firm, which limits the PSC’s ability to quickly analyze and review.
    As of today, Defendants responded that they “didn’t organize [their] charts that way
    and so [they] would have to go back and look each one up again” and refused to
    provide a list of firms associated with the cases.
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                                                              Hon. Rukhsanah L. Singh, U.S.M.J.
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                                                                                         Page 2


            In order to review each case on the Exhibits, properly evaluate Defendants’
    letter, and reach out to all affected firms, the PSC requests an additional 10 days to
    respond.

           During this time, we will continue to meet and confer with Defendants on the
    cases listed on the Exhibits.

           The PSC recognizes that timely substitution needs to be accomplished in any
    cases in which plaintiffs have passed away, but the PSC needs additional time to
    meet and confer with Defendants, review the cases listed on the Exhibits, and reach
    out to the firms with cases on the list to obtain information necessary to provide a
    fulsome response to the Court.

           The PSC also notes that the Defendants make no mention of the numerous
    plaintiffs in the MDL who were able to file amended complaints substituting parties
    by the February 28th deadline.

          We respectfully request that the Court provide the PSC with an additional 10
    days to provide a more fulsome response.

                                  Respectfully submitted,

                       s/ P. Leigh O'Dell         s/ Michelle A. Parfitt
                       P. Leigh O'Dell            Michelle A. Parfitt

                                Plaintiffs’ Co-Lead Counsel

    cc:   Susan Sharko, Esq. (via email)
          All Counsel (via ECF)
